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                                                    PRECEDENTIAL



                   UNITED STATES COURT OF APPEALS
                        FOR THE THIRD CIRCUIT
                            _______________

                                   No. 13-4300
                                 _______________

                 IN RE: GOOGLE INC. COOKIE PLACEMENT
                     CONSUMER PRIVACY LITIGATION

               William Gourley; Jose M. Bermudez; Nicholas Todd
                           Heinrich; Lynne Krause,

                                                   Appellants
                                 _______________

                 On Appeal from the United States District Court
                            for the District of Delaware
                               (No. 1-12-md-02358)
                   District Judge: Honorable Sue L. Robinson
                                 _______________

                             Argued December 11, 2014

            Before: FUENTES, FISHER, and KRAUSE, Circuit Judges

                         (Opinion Filed: November 10, 2015)
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                                 _______________

                            OPINION OF THE COURT
                                _______________


            FUENTES, Circuit Judge:

                   This class action arises from allegations that the
            defendants, who run internet advertising businesses, placed
            tracking cookies on the plaintiffs’ web browsers in
            contravention of their browsers’ cookie blockers and
            defendant Google’s own public statements. At issue in this
            appeal is the District Court’s dismissal of each of the nine
            claims brought by the plaintiffs. As follows, we will affirm in
            part, vacate in part, and remand to the District Court for
            additional proceedings.

            I.    Background

                  A.     Internet Advertising and Cookie-Based
            Tracking




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                   In most users’ experience, webpages appear on
            browsers as integrated collages of text and images. As a
            technical matter, this content is delivered and aggregated
            from multiple independent servers. This includes advertising
            content, which is typically drawn from “third-party” servers
            owned by the advertisers themselves. The defendants in this
            case are internet advertising companies, and this suit concerns
            their practices in serving advertisements to the browsers of
            webpage visitors.

                    The delivery of advertising content from third party
            servers to webpage visitors’ browsers is a highly technical
            process involving a series of communications between the
            visitor’s browser, the server of the visited website, and the
            server of the advertising company. In its specifics:

                  The host website leaves part of its webpage
                  blank where the third-party advertisements will
                  appear. Upon receiving a “GET” request from a
                  user seeking to display a particular webpage,
                  the server for that webpage will subsequently
                  respond to the browser, instructing the browser
                  to send a “GET” request to the third-party
                  company      charged     with     serving    the
                  advertisements for that particular webpage. . . .
                  The third-party server responds to the GET
                  request by sending the advertisement to the
                  user’s browser, which then displays it on the
                  user’s device. The entire process occurs within
                  milliseconds and the third-party content appears
                  to arrive simultaneously with the first-party




                                          5
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                     content so that the user does not discern any
                     separate GET requests from the third-parties.1

                    As the defendants deliver their advertisements directly
            to users from their own servers, the defendants have the
            capacity to vary how they populate their rented webpage
            space. This capacity permits targeting by which the
            defendants may serve different advertisements to different
            visitors. The general principle is that the more that an
            advertisement is tailored to its audience—sneakers for
            runners, legal pads for lawyers—the greater the
            advertisement’s expected value. Here, the value of
            customization, combined with the capacity for individuated
            advertisement service, impels internet advertisers to surmise
            whatever they can about each particular person requesting
            webpage content.

                     As pled in the complaint:
                     To inject the most targeted ads possible, and
                     therefore charge higher rates to buyers of the ad
                     space, these third-party companies . . . compile
                     the [i]nternet histories of users. The third-party
                     advertising companies use “third-party cookies”
                     to accomplish this goal. In the process of
                     injecting the advertisements into the first-party
                     websites, the third-party advertising companies
                     also place third-party cookies on user’s
                     computing devices. Since the advertising
                     companies place advertisements on multiple
                     sites, these cookies allow these companies to



            1
                Compl. ¶ 41.




                                             6
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                     keep track of and monitor an individual user’s
                     web activity over every website on which these
                     companies inject ads.2

                     These third-party cookies are used by
                     advertising companies to help create detailed
                     profiles on individuals . . . by recording every
                     communication request by that browser to sites
                     that are participating in the ad network,
                     including all search terms the user has entered.
                     The information is sent to the companies and
                     associated with unique cookies—that is how the
                     tracking takes place. The cookie lets the tracker
                     associate the web activity with a unique person
                     using a unique browser on a device. Once the
                     third-party cookie is placed in the browser, the
                     next time the user goes to a website with the
                     same [d]efendant’s advertisements, a copy of
                     that request can be associated with the unique
                     third-party cookie previously placed. Thus the
                     tracker can track the behavior of the user . . . .3

                  B.        Cookie Blocking, Circumvention, Deceit, and
            Discovery

                   Individually tailored webpage advertisements are now
            ubiquitous. But, where cookie-based tracking is concerned,
            leading web browsers have designed built-in features to
            prevent the installation of cookies by third-party servers. The



            2
                Compl. ¶ 45.
            3
                Compl. ¶ 46.




                                             7
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            complaint calls them “cookie blockers.” The cookie blockers
            of two browsers are at issue in this case. One is Microsoft’s
            Internet Explorer, which featured an “opt-in” cookie blocker
            that a user could elect to activate. The other is Apple’s Safari
            browser, which featured an “opt-out” cookie blocker that was
            activated by default. The complaint notes that the main Apple
            website page dedicated to Safari advertised its opt-out cookie
            blocker as a unique feature, stating that, “to better protect[]
            your privacy[,] Safari accepts cookies only from the websites
            you visit.”4 Likewise, the Safari browser labeled its default
            cookie setting as “Block cookies: From third parties and
            advertisers.”5

                   According to the complaint, the Safari and Internet
            Explorer cookie blockers were well-known to industry
            participants, including as to their existence, functionality, and
            purpose. More is alleged about Google in particular. Google’s
            Privacy Policy explained that “most browsers are initially set
            up to accept cookies, but you can reset your browser to refuse
            all cookies or to indicate when a cookie is being sent.”6
            Google provided further assurances about the Safari cookie
            blocker specifically. Google offered a proprietary cookie
            blocker, a so-called “opt-out cookie” that, when downloaded,
            would prevent the installation of tracking cookies. On the
            public webpage Google maintained to describe its opt-out
            cookie, Google assured visitors that “Safari is set by default




            4
                Compl. ¶ 69.
            5
                Compl. ¶ 71.
            6
                Compl. ¶ 80.




                                           8
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            to block all third party cookies. If you have not changed those
            settings, this option essentially accomplishes the same thing
            as setting the opt-out cookie.”7

                   In February 2012, Stanford graduate student Jonathan
            Mayer published an online report revealing that Google and
            the other defendants had discovered, and were surreptitiously
            exploiting, loopholes in both the Safari cookie blocker and the
            Internet Explorer cookie blocker.8 Safari’s cookie blocker
            turns out to have had a few exceptions, one of which was that
            it permitted third-party cookies if the browser submitted a
            certain form to the third-party. Because advertisement
            delivery does not, in the ordinary course, involve such forms,
            the exception ought not have provided a pathway to installing
            advertiser tracking cookies. But according to Mayer’s report,
            Google used code to command users’ web browsers to
            automatically submit a hidden form to Google when users
            visited websites embedded with Google advertisements. This
            covert form triggered the exception to the cookie blocker, and,
            used widely, enabled the broad placement of cookies on Safari
            browsers notwithstanding that the blocker—as Google
            publicly acknowledged—was designed to prevent just that.
            The other defendants, meanwhile, accomplished similar
            circumventions. As a result, the defendants could—and did—
            place third-party cookies on browsers with activated blockers.




            7
                Compl. ¶ 79.
            8
             Compl. ¶ 75; Jonathan Mayer, Web Policy Blog, Safari
            Trackers (Feb. 17, 2012),
            http://webpolicy.org/2012/02/17/safari-trackers/.




                                           9
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                   Mayer’s findings were concurrently published in the
            Wall Street Journal9 and drew the attention of the Federal
            Trade Commission and a consortium of state attorneys
            general. The Department of Justice filed suit under the Federal
            Trade Commission’s authorizing statute in the Northern
            District of California, and the action resolved by way of a
            stipulated order providing for a $22.5 million civil penalty.10
            Google further agreed to certain forward-looking conditions
            related to internet privacy, but admitted no past acts or
            wrongdoing.11 Google similarly reached a $17 million




            9
             Compl. ¶ 74; Julia Angwin & Jennifer Valentino-Devries,
            Google’s iPhone Tracking: Web Giant, Others Bypassed
            Apple Browser Settings for Guarding Privacy, Wall Street
            Journal (Feb. 17, 2012),
            http://www.wsj.com/article_email/SB1000142405297020488
            0404577225380456599176.
            10
               Compl. ¶¶ 166-68; United States v. Google, Inc., N.D. Cal.
            No. 12-cv-4177, Docs. 1, 30; see also Press Release, Federal
            Trade Commission, Google Will Pay $22.5 Million to Settle
            FTC Charges it Misrepresented Privacy Assurances to Users
            of Apple’s Safari Internet Browser: Privacy Settlement is the
            Largest FTC Penalty Ever for Violation of a Commission
            Order (Aug. 9, 2012), https://www.ftc.gov/news-
            events/press-releases/2012/08/google-will-pay-225-million-
            settle-ftc-charges-it-misrepresented.
            11
              Compl. ¶ 169; Google, N.D. Cal. No. 12-cv-4177, Docs.
            30, 32.




                                          10
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            settlement with 38 state attorneys general, including the
            California Attorney General.12
                   C.     The Instant Suit

                   Following Mayer’s report, a series of lawsuits were
            filed in federal district courts around the country. Those



            12
               See Settlement Agreement between Google, Inc. & the
            Attorneys General of the States of Alabama, Arizona,
            Arkansas, California, Connecticut, Florida, Illinois, Indiana,
            Iowa, Kansas, Kentucky, Maine, Maryland, Massachusetts,
            Michigan, Minnesota, Mississippi, Nebraska, Nevada, New
            Jersey, New Mexico, New York, North Carolina, North
            Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode
            Island, South Carolina, South Dakota, Tennessee, Texas,
            Vermont, Virginia, Washington, and Wisconsin, as well as
            the      District      of     Columbia,        available      at
            http://www.ncdoj.gov/News-and-Alerts/News-Releases-and-
            Advisories/Related-Information/Google-Safari-Settlement-
            Agreement.aspx; see also Claire Cain Miller, Google to Pay
            $17 Million to Settle Privacy Case, N.Y. Times (Nov. 18,
            2013),
            http://www.nytimes.com/2013/11/19/technology/google-to-
            pay-17-million-to-settle-privacy-case.html. The settlement
            with the state attorneys general post-dated the District Court’s
            dismissal order, and thus the filing of the complaint. Because
            the fact of this settlement is well-documented and officially
            recognized by the many governmental parties to it, and
            because the public policy implications of imposing liability
            on defendant Google are highly relevant to the disposition of
            two of the plaintiffs’ claims, we will take judicial notice of
            Google’s settlement with the state attorneys general.




                                          11
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            lawsuits were consolidated by the Multi-District Litigation
            panel and assigned to Judge Sue Robinson of the District of
            Delaware. This appeal is from the District Court’s dismissal
            of that consolidated case.

                  The consolidated case was presented to the District
            Court as a putative class action, and four named plaintiffs—
            our appellants here—filed a consolidated class action
            complaint. The putative class consists of:

                     all persons in the United States of America who
                     used the Apple Safari or Microsoft Internet
                     Explorer web browsers and who visited a
                     website from which doubleclick.net (Google’s
                     advertising serving service), PointRoll, Vibrant
                     Media, Media Innovation Group, or WPP
                     cookies were deployed as part of a scheme to
                     circumvent the users’ browsers’ settings to
                     block such cookies and which were thereby
                     used to enable tracking of the class members[’]
                     [i]nternet communications without consent.13

                    The complaint asserts three federal law claims against
            all defendants. Count I claims violation of the federal Wiretap
            Act, 18 U.S.C. § 2510 et seq. Count II claims violation of the
            Stored Communications Act, 18 U.S.C § 2701. And Count III
            claims violation of the Computer Fraud and Abuse Act, 18
            U.S.C. § 1030.




            13
                 Compl. ¶ 191.




                                           12
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                   The complaint also asserts six California state law
            claims against Google only. Count IV claims violation of the
            privacy right conferred by the California Constitution. Count
            V claims intrusion upon seclusion under California tort law.
            Count VI claims violation of the Unfair Competition Law,
            Cal. Bus. & Prof. Code § 17200. Count VII claims violation
            of the California Comprehensive Computer Data Access and
            Fraud Act, Cal. Penal Code § 502. Count VIII claims
            violation of the California Invasion of Privacy Act, Cal. Penal
            Code § 630 et seq. And Count IX claims violation of the
            California Consumers Legal Remedies Act, Cal. Civ. Code
            § 1750 et seq.

                   The defendants moved to dismiss the entire complaint
            for lack of Article III standing and for failure to state any
            claim. Without definitively resolving the standing challenge,
            the District Court agreed with the defendants that the
            allegations in the complaint did not give rise to any action,
            and on that basis dismissed the complaint under Rule
            12(b)(6).14 On appeal, the plaintiffs challenge the dismissal of
            each of their nine claims, and the defendants renew their
            contention that the plaintiffs lack Article III standing.

            II.    Injury in Fact

                   Before we reach the merits, we address the defendants’
            argument that the plaintiffs lack standing. “[T]he question of
            standing is whether the litigant is entitled to have the court




            14
              In re Google Inc. Cookie Placement Consumer Privacy
            Litig., 988 F. Supp. 2d 434 (D. Del. 2013).




                                          13
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            decide the merits of the dispute or of particular issues.”15 A
            core requirement of standing is that the plaintiff have suffered
            an injury in fact. The defendants contend that the plaintiffs
            fail to demonstrate injury in fact because they make
            insufficient allegations of pecuniary harm.
                    For purposes of injury in fact, the defendants’
            emphasis on economic loss is misplaced. In assessing injury
            in fact, we look for an “invasion . . . which is (a) concrete and
            particularized; and (b) actual or imminent, not conjectural or
            hypothetical.”16 Though the “injury must affect the plaintiff in
            a personal and individual way,”17 this standard does not
            demand that a plaintiff suffer any particular type of harm to
            have standing. Consequently, and contrary to the contentions
            of the defendants, a plaintiff need not show actual monetary
            loss for purposes of injury in fact. Rather, “the actual or
            threatened injury required by Art. III may exist solely by
            virtue of statutes creating legal rights, the invasion of which
            creates standing.”18 Sure enough, the Supreme Court itself




            15
               Storino v. Borough of Point Pleasant Beach, 322 F.3d 293,
            296 (3d Cir. 2003) (internal quotation marks omitted). “If
            [the] plaintiffs do not possess Article III standing, both the
            District Court and this Court lack subject matter jurisdiction
            to address the merits of [the] plaintiffs’ case.” Id. (internal
            quotation marks omitted).
            16
               Pichler v. UNITE, 542 F.3d 380, 390 (3d Cir. 2008)
            (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61
            (1992)).
            17
                 Lujan, 504 U.S. at 560 n.1.




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            has permitted a plaintiff to bring suit for violations of federal
            privacy law absent any indication of pecuniary harm.19
                   The plaintiffs here base their claims on highly specific
            allegations that the defendants, in the course of serving
            advertisements to their personal web browsers, implanted
            tracking cookies on their personal computers. Irrespective of
            whether these allegations state a claim, the events that the
            complaint describes are concrete, particularized, and actual as
            to the plaintiffs. To the extent that the defendants believe that
            the alleged conduct implicates interests that are not legally
            protected, this is an issue of the merits rather than of standing.
                   The plaintiffs show injury in fact, and we have
            jurisdiction to address the merits of their claims.20



            18
               Havens Realty Corp. v. Coleman, 455 U.S. 363, 373 (1982)
            (alteration in original) (internal quotation marks omitted); see
            also Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.
            (TOC), Inc., 528 U.S. 167, 183 (2000) (“[E]nvironmental
            plaintiffs adequately allege injury in fact when they aver that
            they use the affected area and are persons for whom the
            aesthetic and recreational values of the area will be lessened
            by the challenged activity.”) (internal quotation marks
            omitted).
            19
               See Doe v. Chao, 540 U.S. 614, 641 (2004) (Ginsburg, J.,
            dissenting) (“Doe has standing to sue, the Court agrees, based
            on ‘allegations that he was “torn . . . all to pieces” and
            “greatly concerned and worried” because of the disclosure of
            his Social Security number and its potentially “devastating”
            consequences.’”).
            20
              The District Court had subject matter jurisdiction over the
            plaintiffs’ federal law claims under 28 U.S.C. § 1331. It had



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            III.   Federal Claims Against All Defendants

                   We first address the three federal law claims brought
            against all defendants. For the following reasons, we will
            vacate the dismissal of the plaintiffs’ Wiretap Act claim but
            affirm the dismissal of the plaintiffs’ claims under the Stored
            Communications Act and Computer Fraud and Abuse Act.

                   A.     The Federal Wiretap Act

                   The federal Wiretap Act is codified at 18 U.S.C. §
            2510 et seq. A plaintiff pleads a prima facie case under the
            Act by showing that the defendant “(1) intentionally (2)
            intercepted, endeavored to intercept or procured another
            person to intercept or endeavor to intercept (3) the contents of
            (4) an electronic communication, (5) using a device.”21 Of




            subject matter jurisdiction over the plaintiffs’ state law claims
            for two independent reasons: supplemental jurisdiction under
            28 U.S.C. § 1367, and diversity jurisdiction under the Class
            Action Fairness Act, 28 U.S.C. § 1332(d). We have
            jurisdiction over the District Court’s final dismissal under 28
            U.S.C. § 1291.
            21
               In re Pharmatrak, Inc. Privacy Litig., 329 F.3d 9, 18 (1st
            Cir. 2003) (citing 18 U.S.C. § 2511(1)(a)); see also §§
            2510(4) (providing that “‘intercept’ means the aural or other
            acquisition of the contents of any wire, electronic, or oral
            communication through the use of any electronic,
            mechanical, or other device”), 2520 (providing a private right
            of action)).




                                           16
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            several statutory exceptions, one is the exception of
            § 2511(2)(d). Section 2511(2)(d) provides that, ordinarily, no
            cause of action will lie against a private person “where such
            person is a party to the communication or where one of the
            parties to the communication has given prior consent to such
            interception.”22



                            1.    Acquisition of “Content”

                   The District Court dismissed the plaintiffs’ Wiretap
            Act claim on the basis that the defendants’ alleged conduct
            did not involve the acquisition of communications “content.”
            While the plaintiffs allege that the defendants acquired and
            tracked the URLs they visited, the Act defines “contents” as
            “any information concerning the substance, purport, or
            meaning of th[e] communication [at issue].”23 The District
            Court held that, “[a]s described by their name, ‘Universal
            Resource Locators,’ . . . . a URL is a location identifier and
            does not ‘concern [ ] the substance, purport, or meaning’ of
            an electronic communication.’”24




            22
               The exception does not apply if “such communication is
            intercepted for the purpose of committing any criminal or
            tortious act in violation of the Constitution or laws of the
            United States or of any State.” 18 U.S.C. § 2511(2)(d).
            23
                 18 U.S.C. § 2510(8).
            24
              In re: Google, 988 F. Supp. 2d at 444 (final alteration in
            original) (quoting 18 U.S.C. § 2510(8)).




                                          17
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                     In Smith v. Maryland, the Supreme Court made clear
            the important difference between extrinsic information used
            to route a communication and the communicated content
            itself.25 In Smith, the Supreme Court found no Fourth
            Amendment violation from the government’s warrantless use
            of a pen register.26 Distinguishing its holding in Katz v.
            United States27 that warrantless wiretapping violated the
            Fourth Amendment, the Supreme Court explained that “a pen
            register differs significantly from the listening device
            employed in Katz, for pen registers do not acquire the
            contents of communications.”28 Rather, the Court explained,
            pen registers “disclose only the telephone numbers that have
            been dialed—a means of establishing communication. Neither
            the purport of any communication between the caller and the
            recipient of the call, their identities, nor whether the call was
            even completed is disclosed by pen registers.”29

                   Smith’s differentiation between the “means of
            establishing communication” and the “purport of a[]
            communication”30 looms large in federal surveillance law.


            25
                 442 U.S. 735 (1979).
            26
                 Id. at 745-46.
            27
                 389 U.S. 347 (1967).
            28
                 Id. at 741 (emphasis in original).
            29
              Id. (quoting United States v. New York Tel. Co., 434 U.S.
            159, 167 (1977)).
            30
                 Id.



                                             18
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            Whereas the Wiretap Act governs the interception of
            communications “content[],”31 the separate federal Pen
            Register Act governs the acquisition of non-content “dialing,
            routing, addressing, [or] signaling information.”32 As the
            House of Representatives noted in its Report regarding the
            enactment of the PATRIOT Act, “the statutorily prescribed
            line between a communication’s contents and non-content
            information[] [is] a line identical to the constitutional
            distinction drawn by the U.S. Supreme Court in Smith v.
            Maryland.”33

                   Since Smith, location identifiers have classically been
            associated with non-content “means of establishing
            communication.”34 Nevertheless, the District Court’s



            31
                 18 U.S.C. § 2510(4); see also id. § 2511(1)(a).
            32
               18 U.S.C. §§ 3121(c), 3127(3)-(4). Where surveillance by
            law enforcement is concerned, “[t]he difference in the
            standards for court approval of content-capturing wiretaps
            and non-content-capturing pen registers is dramatic—content
            information is protected by a ‘super-warrant,’ non-content
            information by a rubber stamp.” Matthew J. Tokson, The
            Content/Envelope Distinction in Internet Law, 50 Wm. &
            Mary L. Rev. 2105, 2120 (2009).
            33
                Report of the House of Representatives Judiciary
            Committee, H. Rep. No. 107-236, at 53, available at
            http://www.gpo.gov/fdsys/pkg/CRPT-107hrpt236/pdf/CRPT-
            107hrpt236-pt1.pdf.
            34
              Smith, 442 U.S. at 741 (quoting New York Tel. Co., 434
            U.S. at 167).




                                            19
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            categorical assessment that location identifiers never
            “concern[] the substance, purport, or meaning” of a
            communication misses the mark.35 Often, a location identifier
            serves no routing function, but instead comprises part of a
            communication’s substance.36 As a leading treatise on
            criminal procedure explains:
                   [T]he line between content and non-content
                   information is inherently relative. If A sends a
                   letter to B, asking him to deliver a package to C
                   at a particular address, the contents of that letter
                   are contents from A to B but mere non-content
                   addressing information with respect to the
                   delivery of the package to C. In the case of e-
                   mail, for example, a list of e-mail addresses sent
                   as an attachment to an e-mail communication
                   from one person to another are contents rather
                   than addressing information. In short, whether
                   an e-mail address is content or non-content
                   information      depends     entirely    on     the
                                   37
                   circumstances.

            In essence, addresses, phone numbers, and URLs may be
            dialing, routing, addressing, or signaling information, but
            only when they are performing such a function. If an address,



            35
                 18 U.S.C. § 2510(8).
            36
              See generally Orin Kerr, Websurfing and the Wiretap Act,
            Wash. Post. (June 4, 2015),
            https://www.washingtonpost.com/news/volokh-
            conspiracy/wp/2015/06/04/websurfing-and-the-wiretap-act/.
            37
                 Wayne R. LaFave, et al., 2 Crim. Proc. § 4.4(d) (3d ed.).




                                            20
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            phone number, or URL is instead part of the substantive
            information conveyed to the recipient, then by definition it is
            “content.”

                   The different ways that an address can be used means,
            as Professor Orin Kerr puts it, that “the line between contents
            and metadata is not abstract but contextual with respect to
            each communication.”38 Thus, there is no general answer to
            the question of whether locational information is content.
            Rather, a “content” inquiry is a case-specific one turning on
            the role the location identifier played in the “intercepted”
            communication.

                   Here, the complaint does not make clear whether the
            tracked URLs were acquired by the defendants from
            communications in which those URLs played a routing
            function. This is not, however, fatal to the plaintiffs’ claim.

                   In a declassified opinion analyzing whether there was
            statutory authority for a National Security Agency
            surveillance program, the Foreign Intelligence Surveillance
            Court observed that the government possessed trap and trace
            authority over “dialing, routing, addressing, and signaling
            information . . . provided, however, that such information
            shall not include the contents of any information.”39 The



            38
                 Kerr, Websurfing and the Wiretap Act.
            39
              [Redacted], No. PR/TT [Redacted] (FISA Ct. 2010),
            available at
            http://www.dni.gov/files/documents/1118/CLEANEDPRTT%2
            02.pdf at 26 (quoting 18 U.S.C. § 3127(4)).




                                           21
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            Surveillance Court read this to mean that, for purposes of
            federal surveillance law, information may well serve both a
            routing function and a content function. Noting the breadth of
            the statutory descriptions of routing information and
            “content,” the Surveillance Court concluded that routing
            information and “content” are not mutually exclusive
            categories, but rather ones that Congress expressly
            contemplated to be occasionally coextensive.40 Proceeding to
            identify exemplary areas where routing information and
            “content” overlap, the Surveillance Court pointed, “in
            particular,” to URL queries that involve reproduction of a
            search phrase entered by a user into a search engine.41
            Quoting the District of Massachusetts, the Surveillance Court
            explained that, “if a user runs a search using an [i]nternet
            search engine, the ‘search phrase would appear in the URL
            after the first forward slash’ as part of the addressing
            information, but would also reveal contents, i.e., the
            ‘“substance” and “meaning” of the communication . . . that
            the user is conducting a search for information on a particular
            topic.’”42 For an example from another context, the court
            pointed to post-cut-through digits in the phone context “as




            40
                 Id. at 31.
            41
                 Id. at 32.
            42
              Id. at 32 (final alteration in original) (quoting In re
            Application of the U.S., 396 F. Supp. 2d 45, 49 (D. Mass.
            2005)).




                                          22
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            dialing information, some of which also constitutes
            contents.”43

                    The decision of the Surveillance Court is instructive in
            several ways relevant to our analysis here. The first of these is
            that, to the extent that the statutory definitions and conceptual
            categories of content and routing information overlap,
            Congress expressly contemplated the possibility of such an
            overlap. For the reasons stated by the Surveillance Court, we
            are persuaded that, under the surveillance laws, “dialing,
            routing, addressing, and signaling information” may also be
            “content.”

                    Second, the Surveillance Court takes the position that
            queried URLs can be content as well as routing information,
            for instance in the case of URLs that reproduce search engine
            inquiries. Though some district courts have held that a URL
            is never content, the Surveillance Court decision is part of a
            growing chorus that some, if not most, queried URLs do
            contain content. In In re Zynga Privacy Litigation, the Ninth
            Circuit took the position that queried URLs are content if, but
            only if, they reproduce words from a search engine query.44



            43
               Id. at 33. As the Southern District of Texas has explained,
            “‘[p]ost-cut-through dialed digits’ are any numbers dialed
            from a telephone after the call is initially setup or ‘cut-
            through.’” In re Application of the U.S., 441 F. Supp. 2d 816,
            818 (S.D. Tex. 2006). “Sometimes these digits transmit real
            information, such as bank account numbers, Social Security
            numbers, prescription numbers, and the like.” Id.
            44
               750 F.3d 1098, 1108-09 (9th Cir. 2014) (“[A] user’s
            request to a search engine for specific information could



                                           23
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            In United States v. Forrester, meanwhile, a different panel of
            the Ninth Circuit noted that warrantless capture of URLs
            generally “might be more constitutionally problematic” than
            warrantless capture of IP addresses.45 The Forrester court
            explained that “[a] URL, unlike an IP address, identifies the
            particular document within a website that a person views and
            thus reveals much more information about the person’s
            [i]nternet activity.”46 Akin to Forrester is the stance taken by
            the House Judiciary Committee in its PATRIOT Act report,
            which stated that a pen register order “could not be used to
            collect information other than ‘dialing, routing, addressing,
            and signaling’ information, such as the portion of a URL
            (Uniform Resource Locator) specifying Web search terms or




            constitute a communication such that divulging a URL
            containing that search term to a third party could amount to
            disclosure of the contents of a communication. But the
            referrer header information at issue here includes only basic
            identification and address information, not a search term or
            similar communication made by the user, and therefore does
            not constitute the contents of a communication.”).
            45
               512 F.3d 500, 510 n.6 (9th Cir. 2008). An “IP address” is
            “[t]he 10-digit identification tag used by computers to locate
            specific websites.” Black’s Law Dictionary (10th ed. 2014)
            (“Internet-protocol address”).
            46
                512 F.3d at 510 n.6; see also Tokson, The
            Content/Envelope Distinction in Internet Law, 50 Wm. &
            Mary L. Rev. at 2136 (“[S]tandard URLs . . . reveal every bit
            as much content as do URLs containing search terms.”).




                                          24
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            the name of a requested file or article.”47 Though none of
            these authorities offer detailed reasoning on why they draw
            the “content” line where they do, what they have in common
            is that they assess whether a URL involves “contents” based
            on how much information would be revealed by disclosure of
            the URL.

                   Third, the Surveillance Court’s example of post-cut-
            through digits in the telephone context—i.e. numbers dialed
            from a telephone after a call is already setup or “cut-
            through”—hints at a different reason why queried URLs
            might be considered content. A number of courts apart from
            the Surveillance Court—most prominently the D.C. Circuit—
            have found such digits to comprise communications content
            beyond the permissible scope of a pen register.48 URL queries


            47
                 See H. Rep. No. 107-36, at 53.
            48
              See U.S. Telecom Ass’n v. F.C.C., 227 F.3d 450, 462 (D.C.
            Cir. 2000) (“Post-cut-through dialed digits can . . . represent
            call content. For example, subjects calling automated banking
            services enter account numbers. When calling voicemail
            systems, they enter passwords. When calling pagers, they dial
            digits that convey actual messages. And when calling
            pharmacies to renew prescriptions, they enter prescription
            numbers.”); In re Applications of the U.S., 515 F. Supp. 2d
            325, 339 (E.D.N.Y. 2007) (“[T]he “Government’s request for
            access to all post-cut-through dialed digits is not clearly
            authorized by the Pen/Trap Statute, and . . . granting such a
            request would violate the Fourth Amendment . . . .”); In re
            Application of the U.S., 441 F. Supp. 2d at 827 (“Post-cut-
            through dialed digits . . . are not available to law enforcement
            under the Pen/Trap Statute.”).



                                            25
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            bear functional analogues to this process, in that different
            portions of a queried URL may serve to convey different
            messages to different audiences. For instance, the domain
            name portion of the URL—everything before the “.com”—
            instructs a centralized web server to direct the user to a
            particular website, but post-domain name portions of the
            URL are designed to communicate to the visited website
            which webpage content to send the user.49
                   As stated above, we agree with the Surveillance Court
            that routing information and content are not mutually
            exclusive categories. And between the information revealed
            by highly detailed URLs and their functional parallels to post-
            cut-through digits, we are persuaded that—at a minimum—
            some queried URLs qualify as content.50 Indeed, the



            49
              See generally Jonathan Mayer, Web Browsing (Under the
            Pen Register Act and Wiretap Act), (Nov. 28, 2014).
            https://www.youtube.com/watch?v=7vFha-af7GE
            50
               We need not make a global determination as to what is
            content, and why, in the context of queried URLs. Lack of
            consensus, the complexity and rapid pace of change
            associated with the delivery of modern communications, and
            the facileness of direct analogy to mail and telephone cases
            counsel the utmost care in considering what is, and what is
            not, “content” in the context of web queries. Indeed, when it
            comes to differentiating content from non-content, Professor
            Kerr describes queried URLs as “the most difficult and
            discussed case.” Orin S. Kerr, Applying the Fourth
            Amendment to the Internet: A General Approach, 62 Stan. L.
            Rev. 1005, 1030 n. 93 (2010); see also Orin S. Kerr, Internet
            Surveillance Law after the USA Patriot Act: The Big Brother
            that Isn’t, 97 Nw. U. L. Rev. 607, 644-48 (2003); cf. Tokson,



                                          26
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            defendants’ counsel acknowledged as much at argument.51
            Because the complaint pleads a broad scheme in which the
            defendants generally acquired and tracked the plaintiffs’
            internet usage, we are satisfied that this scheme, if it operated
            as alleged, involved the collection of at least some “content”
            within the meaning of the Wiretap Act.52




            The Content/Envelope Distinction in Internet Law, 50 Wm. &
            Mary L. Rev. at 2136 (“Perhaps because it is so intuitive that
            search terms in a URL should be considered content, the
            treatment of content-revealing communications data is
            undertheorized in computer surveillance scholarship.”).
            51
             Oral Arg. Tr. at 44 (“We acknowledge that there may be
            URLs that could constitute content.”).
            52
               Because the URL information acquired and tracked by the
            defendants is “content” for purposes of the plaintiffs’ Wiretap
            Act claim, we need not consider whether the defendants
            acquired and/or tracked other “content” from the electronic
            transmissions at issue. Our understanding of the factual
            position of the defendants is that their cookies operate by
            adding a unique sequence of letters and/or numbers to any
            GET request transmitted from the user browser hosting the
            cookie to the advertiser server that set the cookie. See Oral
            Arg. Tr. at 25 (“The cookie doesn’t acquire anything. . . . The
            cookie doesn’t look for anything. It just sits on the browser
            and gets sent along with information that would otherwise be
            sent.”); id. at 26 (“Maybe it’s sort of like a bookmark.
            Information gets sent anyway every day, all the time. And
            then a cookie is placed. And thereafter the same information
            is sent, except that the cookie is there, too. It’s unique. It’s not
            personally identifying. It has nothing to do with the actual



                                            27
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                          2.     Section 2511(2)(d)

                     According to the defendants, even if we find that the
            plaintiffs adequately plead the acquisition of “content,” we
            may affirm nevertheless under § 2511(2)(d). Section
            2511(2)(d) sets forth that “[i]t shall not be unlawful . . . for a
            person not acting under color of law to intercept a wire, oral,
            or electronic communication where such person is a party to
            the communication . . . unless such communication is
            intercepted for the purpose of committing any criminal or
            tortious act in violation of the Constitution or laws of the
            United States or of any State.” The defendants contend that
            they were the intended recipients of—and thus “parties” to—
            any electronic transmissions that they acquired and tracked,
            and that, as they committed no secondary criminal or tortious
            act, their conduct cannot have been unlawful under the
            statute.
                                 a.     How the Information at Issue
            Was Acquired

                   Before we can assess whether the defendants were
            “parties” to the electronic transmissions at issue, we must first
            identify what, exactly, are the transmissions at issue.

                    In the portion of the complaint devoted to the
            plaintiffs’ Wiretap Act claim, the complaint states that “the
            [d]efendants’ third-party web tracking permitted them to



            information that’s being sent at that time.”). This is consistent
            with our understanding of the allegations of the plaintiffs, as
            discussed in detail below.




                                           28
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            record information that [c]lass [m]embers exchanged with
            first-party websites . . . which [the d]efendants intercepted
            while not a party to those communications (hence third-party
            tracking)[.]”53 It continues to plead that “the defendants’
            third-party tracking intercepted the class members’
            communications while they were in transit from the class
            members’ computing devices to the web servers of the first-
            party websites the class members used their browsers to
            visit.”54
                    The highly specific allegations contained in the body
            of the complaint, however, give no credence to the
            complaint’s later allegations that the defendants acquired their
            internet history information from transmissions between the
            plaintiffs’ browsers and first-party websites. With respect to
            the mechanics of the defendants’ acquisition of web browsing
            information, the interior of the complaint says that, “[u]pon
            receiving a []GET[] request from a user seeking to display a
            particular webpage, the server for that webpage will
            subsequently respond to the browser, instructing the browser
            to send a []GET[] request to the third-party company charged
            with serving the advertisements for that particular
            webpage.”55 As to Google specifically, the complaint likewise
            pleads that “the server hosting the publisher’s webpage . . .
            instructs the user’s web browser to send a GET request to
            Google to display the relevant advertising information for the




            53
                 Compl. ¶ 206.
            54
                 Compl. ¶ 208.
            55
                 Compl. ¶ 41.




                                          29
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            space on the page for which Google has agreed to sell display
            advertisements.”56

                   If users’ browsers directly communicate with the
            defendants about the webpages they are visiting—as the
            complaint pleads with particularity—then there is no need for
            the defendants to acquire that information from transmissions
            to which they are not a party. After all, the defendants would
            have the information at issue anyway. Underscoring that there
            are direct transmissions between the plaintiffs and the
            defendants, the complaint notes that the defendants place
            cookies on web browsers “in the process of injecting the
            advertisements,”57 which are “serve[d] . . . directly from the
            third-party company’s servers rather than going through the
            individual website’s server.”58

                   The complaint’s descriptions of how tracking is
            accomplished, meanwhile, further supports that the
            information was captured from the plaintiffs’ GET requests to
            the defendants. According to the complaint:
                   The information is sent to the companies and
                   associated with unique cookies -- that is how
                   the tracking takes place. The cookie lets the
                   tracker associate the web activity with a unique
                   person using a unique browser on a device.
                   Once the third-party cookie is placed in the




            56
                 Compl. ¶ 86.
            57
                 Compl. ¶ 45.
            58
                 Compl. ¶ 41.




                                         30
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                     browser, the next time the user goes to a
                     webpage with the same [d]efendant’s
                     advertisements, a copy of that request can be
                     associated with the unique third-party cookie
                     previously placed. Thus the tracker can track
                     the behavior of the user[.]”59

            If the information at issue is sent to the defendants in the
            ordinary course, then this description of the cookies makes
            sense. This is because in such a scenario the defendants need
            only associate information to track it, which can be
            successfully accomplished by affixing an identifier to that
            information. This is precisely how the complaint describes the
            defendants’ cookies’ function. With respect to Google, the
            complaint pleads installation of Google’s “id” cookie, “which
            is a unique and consistent identifier given to each user by
            Google for its use in tracking persons across the entire
            spectrum of websites on which Google places . . . cookies.”60
            Google allegedly uses this cookie to “identif[y] users,” such
            that “the placement of the third-party cookies, placed by
            circumventing Plaintiffs’ and Class Members’ privacy
            settings, allows this identification to take place.”61 Likewise,
            as to two of the other defendants, the complaint says that
            “[t]he spokesman [for Vibrant] admitted Vibrant used the




            59
                 Compl. ¶ 46.
            60
                 Compl. ¶ 95.
            61
                 Compl. ¶ 96.




                                          31
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            trick ‘for unique user identification,’”62 and that “Media’s ‘id’
            cookie is just that—an ‘ID’ or ‘identification’ cookie.”63

                    Just as the operative allegations in the complaint tend
            to support the inference that the cookies enabled the
            defendants to identify, and thus associate, information that the
            plaintiffs sent directly to them in the ordinary course, the
            operative allegations tend to negate any inference to the
            contrary. This is because, if the information at issue was not
            sent to the defendants in the ordinary course, mere
            identification cookies would not be sufficient for the
            defendants’ scheme. To accomplish their tracking in that
            instance, the defendants would have needed not an
            associative device, but one capable of capturing
            communications sent by the plaintiffs and intended for first-
            party websites, and then transmitting them to the
            defendants.64 There is no pleading of any such device, nor is




            62
                 Compl. ¶ 151
            63
                 Compl. ¶ 156
            64
               Cf. Pharmatrak, 329 F.3d at 22 (“[Pharmatrak’s code]
            automatically duplicated part of the communication between
            a user and a pharmaceutical client and sent this information to
            a third party (Pharmatrak).”); In re iPhone Application Litig.,
            844 F. Supp. 2d 1040, 1062 (N.D. Cal. 2012) (“The intended
            communication is between the users’ iPhone and the Wi-fi
            and cell phone towers, and Plaintiffs appear to allege that
            Apple designed its operating system to intercept that
            communication and transmit the information to Apple’s
            servers.”).




                                           32
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            that function the ordinary function of a tracking cookie. As
            stated above, in discussing the function of the defendants’
            cookies, the complaint describes them as having an
            associative function only.65

                    In view of our common sense reading of the operative
            allegations of the complaint, we note the factual position that
            the defendants advanced at argument: “The cookie doesn’t
            acquire anything . . . The cookie doesn’t look for anything. It
            just sits on the browser and gets sent along with information
            that would otherwise be sent.”66 The information at issue
            would be sent anyway because “the user’s web browser
            send[s] a GET request to Google to display the relevant
            advertising information for the space on the page for which
            Google has agreed to sell display advertisements.”67 We note
            also that, at argument, the plaintiffs’ counsel was directly
            asked on six separate occasions to clarify what transmissions
            they believed were improperly acquired and/or how the
            defendants’ cookies functioned.68 The plaintiffs’ counsel did
            not provide a direct response on any of these occasions.

                   At the Rule 12(b)(6) stage “we accept the pleader’s
            description of what happened to him or her along with any




            65
                 Compl. ¶¶ 46, 95, 96, 151, 156.
            66
                 Oral Arg. Tr. at 25.
            67
                 Compl. ¶ 86.
            68
                 Oral Arg. Tr. at 9-10, 11, 12, 13, 14, 15.




                                             33
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            conclusions that can reasonably be drawn therefrom.”69 This
            standard permits the dismissal of a complaint “when [the]
            defendant’s plausible alternative explanation is so convincing
            that plaintiff’s explanation is im plausible.”70 Here, the
            operative allegations of the complaint support only the
            conclusion that the defendants acquired the plaintiffs’ internet
            history information by way of GET requests that the plaintiffs
            sent directly to the defendants, and that the defendants
            deployed identifier cookies to make the information received
            from GET requests associable and thus trackable. And though
            the portion of the complaint pertaining to the Wiretap Act
            contains statements to the contrary, we need not give legal
            effect to “conclusory allegations” that are contradicted by the
            pleader’s actual description of what happened.71

                    In short, our understanding of the plaintiffs’
            allegations is that the defendants acquired the plaintiffs’
            internet history information when, in the course of requesting
            webpage advertising content at the direction of the visited
            website, the plaintiffs’ browsers sent that information directly
            to the defendants’ servers.




            69
              5B Fed. Prac. & Proc. Civ. § 1357 (3d ed.) (“Motions to
            Dismiss—Practice Under Rule 12(b)(6)”).
            70
              Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) (citing
            Fed. R. Civ. P. 8(a)(2); Ashcroft v. Iqbal, 556 U.S. 662
            (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544
            (2007)).
            71
                 5B Fed. Prac. & Proc. Civ. § 1357.




                                           34
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                                  b.       Application of § 2511(2)(d)

                    Because the defendants were the intended recipients of
            the transmissions at issue—i.e. GET requests that the
            plaintiffs’ browsers sent directly to the defendants’ servers—
            we agree that § 2511(2)(d) means the defendants have done
            nothing unlawful under the Wiretap Act. Tautologically, a
            communication will always consist of at least two parties: the
            speaker and/or sender, and at least one intended recipient. As
            the intended recipient of a communication is necessarily one
            of its parties, and the defendants were the intended recipients
            of the GET requests they acquired here, the defendants were
            parties to the transmissions at issue in this case. And under
            § 2511(2)(d), it is not unlawful for a private person “to
            intercept a wire, oral, or electronic communication where
            such person is a party to the communication.”72

                    In their reply brief, the plaintiffs raise three objections
            in response to the argument that their Wiretap Act claim must
            fail because the defendants were the intended recipients of the
            relevant communications. None are persuasive.

                   First, the plaintiffs argue that we should not consider
            the defendants’ argument because the issue was not addressed
            by the District Court and because the defendants failed to
            raise the issue in the form of a cross-appeal. This is
            inapposite, for even if the defendants had never raised the
            issue at all, whether the plaintiffs have stated a claim is a
            matter of law to be determined from the face of their
            complaint. As always, we may affirm a district court’s



            72
                 18 U.S.C. § 2511(2)(d).




                                             35
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            judgment on grounds other than those considered by the
            district court itself.73

                   Second, the plaintiffs argue that the party exception
            should not apply for equitable reasons, in that the transmitted
            GET requests included cookie information that the
            communications included only because of the defendants’
            surreptitious circumvention of the cookie blockers. The point
            here is that, though the plaintiffs sent the GET requests to the
            defendants voluntarily, they were induced to do so by deceit.
            Though we are no doubt troubled by the various deceits
            alleged in the complaint, we do not agree that a deceit upon
            the sender affects the presumptive non-liability of parties
            under § 2511(2)(d). “In the context of the statute, a party to
            the conversation is one who takes part in the conversation.”74
            There is no statutory language indicating this excludes
            intended recipients who procured their entrance to a
            conversation through a fraud in the inducement, such as, here,



            73
              See Jones v. Se. Pa. Transp. Auth., __ F.3d __, 2015 WL
            4746391, at *8 (3d Cir. Aug. 12, 2015).
            74
               Caro v. Weintraub, 618 F.3d 94, 97 (2d Cir. 2010) United
            States v. Pasha, 332 F.2d 193 (7th Cir. 1964)
            (“[I]mpersonation of the intended receiver is not an
            interception within the meaning of the statute.”); Clemons v.
            Waller, 82 Fed. App’x 436, 442 (6th Cir. 2003) (“By citing
            Pasha, Congress strongly intimated that one who
            impersonates the intended receiver of a communication may
            still be a party to that communication for the purposes of the
            federal wiretap statute and that such conduct is not proscribed
            by the statute.”).




                                          36
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            by deceiving the plaintiffs’ browsers into thinking the cookie-
            setting entity was a first-party website.

                   It is not unimaginable that the Wiretap Act would give
            legal effect to the fraudulent participation of a party to a
            conversation.75 It is, after all, a wiretapping statute.76 Indeed,
            it appears the absence of an equitable exception to §
            2511(2)(d) is no accident. In United States v. Pasha, the
            Seventh Circuit held that a police officer who impersonated
            the intended recipient of a phone call did not violate the
            Wiretap Act.77 And, as the Sixth Circuit has explained:
                   When amending the federal [W]iretap [A]ct in
                   1968 to its current state, Congress specifically
                   mentioned Pasha in its discussions of the “party
                   to the communication” provision. In discussing
                   § 2511(2)(c), which is in pari materia with §
                   2511(2)(d) and differs from that provision only
                   in that § 2511(2)(c) applies to persons acting
                   under color of law, the Senate Judiciary
                   Committee stated:




            75
               Cf. Desnick v. Am. Broad. Companies, Inc., 44 F.3d 1345,
            1352 (7th Cir. 1995) (“The law’s willingness to give effect to
            consent procured by fraud is not limited to the tort of
            trespass.”).
            76
              See Black’s Law Dictionary (10th ed. 2014) (defining
            “wiretapping” as “electronic or mechanical eavesdropping”).
            77
                 333 F.2d 193, 198 (7th Cir. 1964).




                                            37
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                          Paragraph 2(c) provides that it
                          shall not be unlawful for a party
                          to     any      wire     or     oral
                          communication . . . to intercept
                          such communication. It largely
                          reflects existing law. Where one
                          of the parties consents, it is not
                          unlawful. . . . “[P]arty” would
                          mean      the    person     actually
                          participating         in         the
                          communication. (United States v.
                          Pasha, 332 F.2d 193 (7th Cir.
                          1964)).78

            We agree with the Sixth Circuit and the Fifth Circuit that,
            “[b]y citing Pasha, Congress strongly intimated that one who
            impersonates the intended receiver of a communication may
            still be a party to that communication for the purposes of the
            federal wiretap statute and that such conduct is not proscribed
            by the statute.”79 Likewise, we conclude it was by design that
            there is no statutory language by which the defendants’
            various alleged deceits would vitiate their claims to be parties



            78
              Clemons v. Waller, 82 Fed. App’x 436, 442 (6th Cir. 2003)
            (quoting S. Rep. No. 90-1097, at 93-94 (1968)); see also
            United States v. Campagnuolo, 592 F.2d 852, 863 (5th Cir.
            1979) (“It is clear from this passage that Congress intended to
            reaffirm the result in Pasha and make admissible
            communications to which a police officer is a party.”).
            79
              Clemons, 82 Fed. App’x at 442; accord Campagnuolo, 592
            F.2d at 863.




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            to the relevant communications. The Wiretap Act is a
            wiretapping statute, and just because a scenario sounds in
            fraud or deceit does not mean it sounds in wiretapping.80




            80
                As § 2511(2)(d) contemplates that a “party” to a
            communication can “intercept” it, we are led to believe that
            the present version of the Wiretap Act gives “intercept” a
            broader connotation than “the ordinary meaning of ‘intercept’
            . . . [which] is ‘to stop, seize, or interrupt in progress or
            course before arrival.’” See Konop v. Hawaiian Airlines, Inc.,
            302 F.3d 868, 878 (9th Cir. 2002) (quoting Webster’s Ninth
            New Collegiate Dictionary 630 (1985)); see also Goldman v.
            United States, 316 U.S. 129, 134 (1942) (“The natural
            meaning of the term ‘intercept’ . . . indicates the taking or
            seizure by the way or before arrival at the destined place.”),
            overruled on other grounds by Katz, 389 U.S. 347; Black’s
            Law Dictionary (10th ed. 2014) (defining “intercept” as “to
            covertly receive or listen to (a communication)”). We will
            not, therefore, adopt the defendants’ other alternative
            argument, which is that the plaintiffs’ Wiretap Act claim
            should fail for want of an “interception.” If the plaintiffs’
            claims had been brought under the Wiretap Act as it existed
            when Pasha was decided, however, the plaintiffs would likely
            fail to show an “interception” for the same reason that, today,
            they fail to show that the defendants were not parties to the
            relevant communications within the meaning of § 2511(2)(d).
            See Pasha, 333 F.2d at 198 (“Interception connotes a
            situation in which by surreptitious means a third party
            overhears a telephone conversation between two persons. We
            believe that impersonation of the intended receiver is not an
            interception within the meaning of the statute.”).




                                          39
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                    Finally, the plaintiffs argue that § 2511(2)(d) should
            not apply because the defendants’ acquisition of the
            communications at issue was tortious under California law.
            The basis for this argument is that § 2511(2)(d) is
            inapplicable when the communication at issue is “intercepted
            for the purpose of committing any criminal or tortious act in
            violation of the Constitution or laws of the United States or of
            any State.” But the plaintiffs point to no legal authority
            providing that the exception to § 2511(2)(d) is triggered
            when, as here, the tortious conduct is the alleged wiretapping
            itself. By contrast, all authority of which we are aware
            indicates that the criminal or tortious acts contemplated by §
            2511(2)(d) are acts secondary to the acquisition of the
            communication involving tortious or criminal use of the
            interception’s fruits.81


            81
              See Caro v. Weintraub, 618 F.3d 94, 98, 100 (2d Cir. 2010)
            (“[T]he defendant must have the intent to use the illicit
            recording to commit a tort or crime beyond the act of
            recording itself. . . . Intent may not be inferred simply by
            demonstrating that the intentional act of recording itself
            constituted a tort. A simultaneous tort arising from the act of
            recording itself is insufficient.”); Sussman v. Am. Broad.
            Companies, Inc., 186 F.3d 1200, 1202-03 (9th Cir. 1999)
            (“Under section 2511, the focus is not upon whether the
            interception itself violated another law; it is upon whether the
            purpose for the interception—its intended use—was criminal
            or tortious. . . . Where the purpose is not illegal or tortious,
            but the means are, the victims must seek redress elsewhere.”);
            Desnick, 44 F.3d at 1353 (“[T]here is no suggestion that the
            defendants sent the testers into the Wisconsin and Illinois
            offices for the purpose of defaming the plaintiffs by charging
            tampering with the glare machine.”).



                                          40
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                   As the Second Circuit explained in Caro v. Weintraub,
            “to survive a motion to dismiss, a plaintiff must plead
            sufficient facts to support an inference that the offender
            intercepted the communication for the purpose of a tortious or
            criminal act that is independent of the intentional act of
            recording.”82 And though the plaintiffs may well plead facts
            that constitute violations of California laws related to
            intrusion upon seclusion, for purposes of the exception to §
            2511(2)(d), “[i]nvasion of privacy through intrusion upon
            seclusion presents a problem . . . —it is a tort that occurs
            through the act of interception itself.”83 As the plaintiffs plead
            no tortious or criminal use of the acquired internet histories, §
            2511(2)(d) is not inapplicable on the basis of the criminal-
            tortious purpose exception.

                   Based on the facts alleged in the pleadings, the
            defendants were parties to any communications that they
            acquired, such that their conduct is within the § 2511(2)(d)
            exception.84 We will accordingly affirm the District Court’s
            dismissal of the plaintiffs’ Wiretap Act claim.

                      B.       The Stored Communications Act

                   We next address the plaintiffs’ claim for violation of
            the Stored Communications Act, 18 U.S.C. § 2701. Enacted
            in 1986, the Stored Communications Act was born from
            congressional recognition that neither existing federal statutes


            82
                 Caro, 618 F.3d at 100 (emphasis added).
            83
                 Id. at 101.
            84
                 See 18 U.S.C. § 2511(2)(d).




                                            41
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            nor the Fourth Amendment protected against potential
            intrusions on individual privacy arising from illicit access to
            “stored communications in remote computing operations and
            large data banks that stored e-mails.”85

                   To state a claim under the Stored Communications
            Act, a plaintiff must show that the defendant “(1)
            intentionally accesses without authorization a facility through
            which an electronic communication service is provided; or (2)
            intentionally exceeds an authorization to access that facility;
            and thereby obtains, alters, or prevents authorized access to a
            wire or electronic communication while it is in electronic
            storage in such system.”86

                   The District Court dismissed this claim on the basis of
            the Act’s requirement that the illicit access be with respect to
            “a facility through which an electronic communication
            service is provided.”87 As pled in the complaint, the illicit
            access at issue was to the plaintiffs’ personal web browsers.




            85
               Garcia v. City of Laredo, Tex., 702 F.3d 788, 791 (5th Cir.
            2012); see also id. at 793; United States v. Councilman, 418
            F.3d 67, 80-81 (1st Cir. 2005) (en banc); S. Rep. No. 99-541,
            at 5 (1986); Orin S. Kerr, A User’s Guide to the Stored
            Communications Act, and a Legislator’s Guide to Amending
            It, 72 Geo. Wash. L. Rev. 1208, 1209-15 (2004).
            86
              18 U.S.C. § 2701(a); see also id. § 2707(a) (cause of
            action).
            87
              In re: Google, 988 F. Supp. 2d at 445-47; 18 U.S.C. §
            2701(a).




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            But according to the District Court, “an individual’s personal
            computing device is not a ‘facility through which an
            electronic communications service is provided.’”88 We agree,
            and we find persuasive the analysis of the Fifth Circuit in
            Garcia v. City of Laredo, which held that “a home computer
            of an end user is not protected by the [Act].”89

                    As noted by the Garcia court, though the Act does not
            define the term “facility,” the Act does define the term
            “electronic communication service,” which it defines as “any
            service which provides to users thereof the ability to send or
            receive wire or electronic communications.”90 This most
            naturally describes network service providers, and, indeed,
            “[c]ourts have interpreted the statute to apply to providers of
            a communication service such as telephone companies,
            [i]nternet or e-mail service providers, and bulletin board
            services.”91 The Act also defines “electronic storage” as “(A)




            88
                 In re: Google, 988 F. Supp. 2d at 446.
            89
              702 F.3d at 793 (quoting Kerr, A User’s Guide to the
            Stored Communications Act, 72 Geo. Wash. L. Rev. at 1215).
            90
              18 U.S.C. § 2510(15) (incorporated by reference in 18
            U.S.C. § 2711(1)); see also Garcia, 702 F.3d at 792.
            91
               Garcia, 702 F.3d at 792 (citing Councilman, 418 F.3d at
            81-82; Theofel v. Farey-Jones, 359 F.3d 1066, 1075 (9th Cir.
            2004); Steve Jackson Games, Inc. v. U.S. Secret Serv., 36
            F.3d 457, 462-63 (5th Cir. 1994)); see also In re iPhone, 844
            F. Supp. 2d. at 1057 (“[T]he computer systems of an email
            provider, a bulletin board system, or an [internet service
            provider] are uncontroversial examples of facilities that



                                            43
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            any temporary, intermediate storage of a wire or electronic
            communication incidental to the electronic transmission
            thereof; and (B) any storage of such communication by an
            electronic communication service for purposes of backup
            protection of such communication.”92 Temporary storage
            incidental to transmission and storage for purposes of backup
            protection are not how personal computing devices keep
            communications, but how third party network service
            providers do—or at least did, in 1986.93
                   There is then the language of 18 U.S.C. § 2701(c)(1),
            which provides that the prohibitory language of the Act “does
            not apply with respect to conduct authorized . . . by the
            person or entity providing a wire or electronic communication
            service.” This makes sense when talking about third-party
            access to network service providers’ own facilities. But were
            the prohibitory language understood to apply to facilities
            other than those of network service providers, the language of
            the exception becomes problematic. As one district court has
            explained, “[i]t would certainly seem odd that the provider of
            a communication service could grant access to one’s home




            provide electronic communications services to multiple
            users.”).
            92
                 18 U.S.C. § 2510(17).
            93
               See Kerr, A User’s Guide to the Stored Communications
            Act, 72 Geo. Wash. L. Rev. at 1213-15 (“The [Act] . . .
            freez[es] into the law the understandings of computer network
            use as of 1986.”) (citing S. Rep. No. 99-541 at 2-3).




                                         44
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            computer to third parties, but that would be the result of [the
            plaintiffs’] argument.”94

                    The origin of the Stored Communications Act
            confirms that Congress crafted the statute to specifically
            protect information held by centralized communication
            providers. “‘Sen. Rep. No. 99–541 (1986)’s entire discussion
            of [the Stored Communications Act] deals only with facilities
            operated by electronic communications services such as
            “electronic bulletin boards” and “computer mail facilit[ies],”
            and the risk that communications temporarily stored in these
            facilities could be accessed by hackers. It makes no mention
            of individual users’ computers . . . .’”95

                    The plaintiffs take a different view, arguing that the
            plain language of the terms “facility” and “electronic
            communication service” are sufficiently flexible to
            encompass contemporary personal computing devices that are
            used to engage with telecommunications services. After all,
            when the Act was enacted, Black’s Law Dictionary defined
            “facilities” as “that which promotes the ease of any action,
            operations, transaction, or course of conduct.”96 And the


            94
              In re: iPhone, 844 F. Supp. 2d at 1058 (quoting Crowley v.
            CyberSource Corp., 166 F. Supp. 2d. 1263, 1270-71 (N.D.
            Cal. 2001)).
            95
              Garcia, 702 F.3d at 793 (second and third alterations in
            original) (quoting In re DoubleClick Inc. Privacy Litig., 154
            F. Supp. 2d 497, 512 (S.D.N.Y. 2001) (quoting S. Rep. No.
            99–541, at 36).
            96
                 Black’s Law Dictionary 705 (5th ed. 1979).




                                           45
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            plaintiffs here use their web browsers to access network
            services such as email and websurfing.

                   In considering the plaintiffs’ argument that we should
            give “facility” a broad, plain language meaning, we are
            reminded that “[a] fair reading of legislation demands a fair
            understanding of the legislative plan.”97 And we agree with
            the Fifth Circuit that the Act clearly shows a specific
            congressional intent to deal with the particular problem of
            private communications in network service providers’
            possession. The textual cues surrounding the term “facility,”
            bolstered by the legislative history and enactment context of
            the Act, support the conclusion that “the words of the statute
            were carefully chosen: ‘[T]he statute envisions a provider (the
            [Internet Service Provider] or other network service provider)
            and a user (the individual with an account with the provider),
            with the user’s communication in the possession of the
            provider.’”98 And “[t]his is consistent with the [Act]’s
            purpose: home computers are already protected by the Fourth
            Amendment, so statutory protections are not needed.”99 In
            this context, “facility” is a term of art denoting where network
            service providers store private communications.




            97
                 King v. Burwell, 135 S. Ct. 2480, 2496 (2015).
            98
              Garcia, 702 F.3d at 793 (emphases removed) (alteration in
            original) (quoting Kerr, A User’s Guide to the Stored
            Communications Act, 72 Geo. Wash. L. Rev. at 1215 n.47).
            99
              Kerr, A User’s Guide to the Stored Communications Act,
            72 Geo. Wash. L. Rev. at 1215.




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                   Other Courts of Appeals have understood the Act in a
            similar manner. In In re: Zynga Privacy Litigation, the Ninth
            Circuit explained that the Act “covers access to electronic
            information stored in third party computers.”100 So, too, the
            Eleventh Circuit in United States v. Steiger, which held that
            “the [Stored Communications Act] clearly applies, for
            example, to information stored with a phone company,
            Internet Service Provider (ISP), or electronic bulletin board
            system,” but that the Act “does not appear to apply to the
            [government’s] source’s hacking into [the plaintiff’s
            personal] computer . . . because there is no evidence that [the]
            computer maintained any ‘electronic communication
            service[.]’”101 The plaintiffs point to various district court
            decisions that have accepted that personal computers can be
            protected “facilities” under the Stored Communications
            Act.102 However, as another district court observes, these
            decisions “provide little analysis on this point of law, instead



            100
                  750 F.3d at 1104 (emphasis added).
            101
                318 F.3d 1039, 1049 (11th Cir. 2003). In Steiger, the
            Eleventh Circuit noted that “reading . . . the Wiretap Act to
            cover     only    real-time   interception     of   electronic
            communications, together with the apparent non-applicability
            of the [Stored Communications] Act to hacking into personal
            computers to retrieve information stored therein, reveals a
            legislative hiatus in the current laws purporting to protect
            privacy in electronic communications.” Id.
            102
               E.g., Cousineau v. Microsoft Corp., 992 F. Supp. 2d 1116,
            1125 (W.D. Wash. 2012) Expert Janitorial, LLC v. Williams,
            2010 WL 908740, at *5 (E.D. Tenn. 2010); Chance v. Ave. A,
            Inc., 165 F. Supp. 2d 1153, 1161 (W.D. Wash. 2001).



                                           47
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            assuming [the plaintiffs’] position to be true due to lack of
            argument and then ultimately ruling on other grounds.”103
            The plaintiffs point to no decision of any Court of Appeals
            holding that a personal computing device is protected by the
            Stored Communications Act.

                   In sum, the defendants’ alleged conduct implicates no
            protected “facility.” The District Court’s dismissal of the
            claim for violation of the Act will therefore be affirmed.


                     C.     Computer Fraud and Abuse Act

                   The plaintiffs’ final federal claim is for violation of the
            Computer Fraud and Abuse Act, 18 U.S.C. § 1030. The Act
            creates a cause of action for persons “who suffer[] damage or
            loss” because, inter alia, a third party “intentionally accesses a
            computer without authorization or exceeds authorized access,
            and thereby obtains . . . information from any protected
            computer.”104

                    The District Court dismissed this claim for failing to
            meet the statutory requirement of “damage or loss.”105 Under
            the Act, “the term ‘damage’ means any impairment to the
            integrity or availability of data, a program, a system, or




            103
                  In re iPhone, 844 F. Supp. 2d at 1057-58.
            104
                  18 U.S.C. § 1030(a)(2)(C), (g).
            105
                  In re Google, 988 F. Supp. 2d at 448.




                                            48
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            information.”106 Meanwhile, “the term ‘loss’ means any
            reasonable cost to any victim, including the cost of
            responding to an offense, conducting a damage assessment,
            and restoring the data, program, system, or information to its
            condition prior to the offense, and any revenue lost, cost
            incurred, or other consequential damages incurred because of
            interruption of service.”107

                    On appeal, the plaintiffs contend that they have
            properly pled “loss” under the statute because they have
            alleged that their “impermissibly seized [p]ersonally
            [i]dentifiable [i]nformation is both ‘currency’ and a
            marketable ‘commodity.’”108 By capturing and making
            economic use of such information, the plaintiffs say, the
            defendants have taken the value of such information for
            themselves, depriving the plaintiffs of their own ability to sell
            their internet usage information. Insofar as the plaintiffs have
            a right to capture that value for themselves, the plaintiffs
            contend that the defendants’ conduct has caused them harm.

                    The complaint plausibly alleges a market for internet
            history information such as that compiled by the defendants.
            Further, the defendants’ alleged practices make sense only if
            that information, tracked and associated, had value. However,
            when it comes to showing “loss,” the plaintiffs’ argument
            lacks traction. They allege no facts suggesting that they ever




            106
                  18 U.S.C. § 1030(e)(8).
            107
                  Id. § 1030(e)(11).
            108
                  Appellants’ Br. 45.




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            participated or intended to participate in the market they
            identify, or that the defendants prevented them from
            capturing the full value of their internet usage information for
            themselves. For example, they do not allege that they sought
            to monetize information about their internet usage, nor that
            they ever stored their information with a future sale in mind.
            Moreover, the plaintiffs do not allege that they incurred costs,
            lost opportunities to sell, or lost the value of their data as a
            result of their data having been collected by others. To
            connect their allegations to the statutory “loss” requirement,
            the plaintiffs’ briefing emphasizes that lost revenue may
            constitute “loss” as that term is defined in the Act.109 This is
            inapposite, however, in that the plaintiffs had no revenue.
                   We see no “damage” or “loss” in the pleadings. We
            will therefore affirm the District Court’s dismissal of the
            claim for violation of the Computer Fraud and Abuse Act.

            IV.       State Law Claims Against Google

                  We now turn to the five California state law claims
            brought against Google only.

                      A.     Freestanding Privacy Claims

                   We first consider, in tandem, the plaintiffs’
            freestanding privacy claims under the California
            Constitution110 and California tort law.



            109
                  Id. at 43-45.
            110
                Article I, Section 1 of the California Constitution states:
            “All people are by nature free and independent and have
            inalienable rights. Among these are enjoying and defending



                                           50
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                   “A privacy violation based on the common law tort of
            intrusion has two elements.”111 “First, the defendant must
            intentionally intrude into a place, conversation, or matter as to
            which the plaintiff has a reasonable expectation of
            privacy.”112 This means “the defendant must have ‘penetrated
            some zone of physical or sensory privacy . . . or obtained
            unwanted access to data’ by electronic or other covert means,
            in violation of the law or social norms.”113 Second, “the
            intrusion must occur in a manner highly offensive to a
            reasonable person.”114

                    “The right to privacy in the California Constitution
            sets standards similar to the common law tort of intrusion.”115
            “First, [the plaintiff] must possess a legally protected privacy
            interest. . . . Second, the plaintiff’s expectations of privacy
            must be reasonable. . . . Third, the plaintiff must show that the



            life and liberty, acquiring, possessing, and protecting
            property, and pursuing and obtaining safety, happiness, and
            privacy.”
            111
              Hernandez v. Hillsides, Inc., 211 P.3d 1063, 1072 (Cal.
            2009).
            112
                  Id.
            113
              Id. (quoting Shulman v. Group W Prods., Inc., 955 P.2d
            469, 490 (Cal. 1998)).
            114
                  Id.
            115
                  Id. at 1073.




                                             51
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            intrusion is so serious ‘in nature, scope, and actual or
            potential impact as to constitute an egregious breach of the
            social norms.’”116

                    When presented with parallel privacy claims under tort
            law and the California Constitution, the California Supreme
            Court has performed a dual inquiry “under the rubric of both .
            . . tests.”117 This “consider[s] (1) the nature of any intrusion
            upon reasonable expectations of privacy, and (2) the
            offensiveness or seriousness of the intrusion, including any
            justification and other relevant interests.”118 In evaluating the
            offensiveness of an invasion, the court is to consider
            “pragmatic policy concerns” such that “no cause of action
            will lie for accidental, misguided, or excusable acts of
            overstepping upon legitimate privacy rights.”119

                   In dismissing the freestanding privacy claims, the
            District Court concluded that Google’s alleged practices “did
            not rise to the level of a serious invasion of privacy or an
            egregious breach of social norms.”120 Contending the District


            116
               Id. (quoting Hill v. Nat’l Collegiate Athletic Assn., 865
            P.2d 633, 655 (Cal. 1994)).
            117
                  Id. at 1073-74.
            118
                  Id. at 1074.
            119
               Id. at 1079; Hill, 865 P.2d at 675 (“Whether [a] plaintiff
            has a reasonable expectation of privacy in the circumstances
            and whether [a] defendant’s conduct constitutes a serious
            invasion of privacy are mixed questions of law and fact.”).
            120
                  In re Google, 988 F. Supp. 2d at 449.



                                             52
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            Court got it right, Google says the plaintiffs voluntarily sent
            Google all the internet usage information at issue.121
            Moreover, Google argues, tracking cookies are routine.122
            Pointing to cases describing cookies as, more or less,
            innocuous,123 Google offers that courts “routinely” find no
            actionable privacy invasion in cases involving tracking,
            collation, and disclosure of internet usage information.124
            Google gives particular attention to Low v. LinkedIn, where
            the Northern District of California explained that “[e]ven
            disclosure of personal information, including social security
            numbers, does not constitute an ‘egregious breach of the
            social norms’ to establish an invasion of privacy claim.”125

                  For purposes of California privacy law, Google’s
            emphasis on tracking and disclosure amounts to a
            smokescreen. What is notable about this case is how Google
            accomplished its tracking. Allegedly, this was by overriding
            the plaintiffs’ cookie blockers, while concurrently
            announcing in its Privacy Policy that internet users could



            121
                  Google Br. at 59 (emphasis in original).
            122
                  Id.
            123
               Id. at 61 (citing, e.g., Pharmatrak, 329 F.3d at 14
            (“Cookies are widely used on the internet by reputable
            websites to promote convenience and customization.”)).
            124
              Id. at 62 (citing Stern v. Weinstein, 512 Fed. App’x 701,
            702 (9th Cir. 2013)).
            125
              Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1025 (N.D.
            Cal. 2012).




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            “reset your browser to refuse all cookies.”126 Google further
            assured Safari users specifically that their cookie blockers
            meant that using Google’s in-house prophylactic would be
            extraneous. Characterized by deceit and disregard, the alleged
            conduct raises different issues than tracking or disclosure
            alone.127
                   Directly pertinent to whether Google’s alleged
            practices implicated a protected privacy interest, California
            tort law treats as actionable an “unwanted access to data by
            electronic or other covert means, in violation of the law or
            social norms.”128 Moreover, the California Constitution
            protects an interest in “conducting personal activities without
            observation,” with the reasonableness of any given
            expectation “rest[ing] on an examination of customs . . . as
            well as the opportunity to be notified in advance and consent
            to the intrusion.”129 To Google’s point, a sophisticated



            126
                  Compl. ¶ 80.
            127
                 See Kristen Lovin, SafariGate: Benign Behavior or
            Malignant Breach?, Colum. Sci. & Tech. L. Rev. (Feb. 22,
            2012), http://stlr.org/2012/02/22/safarigate-benign-behavior-
            or-malignant-breach/ (“[O]ne could say that Google ignored
            the express desires of its users, elevating its own commercial
            interests over the user’s personal privacy interests. This kind
            of disregard may be particularly troubling given the relative
            bargaining power that an individual consumer has against a
            monolith like Google.”).
            128
              Hernandez, 211 P.3d at 1072 (internal quotation marks
            omitted).
            129
                  Id. at 1073 (internal quotation marks omitted).




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            internet user may well have known that, in browsing the
            internet, her URL information was sent to Google. But such a
            user would also reasonably expect that her activated cookie
            blocker meant her URL queries would not be associated with
            each other due to cookies.130 As the activated cookie blocker
            equates, in our view, to an express, clearly communicated
            denial of consent for installation of cookies, we find Google
            “intru[ded] upon reasonable expectations of privacy.”131

                    As for whether the alleged conduct is “so serious in
            nature[] [and] scope . . . as to constitute an egregious breach
            of the social norms,”132 Google not only contravened the
            cookie blockers—it held itself out as respecting the cookie
            blockers. Whether or not data-based targeting is the internet’s
            pole star, users are entitled to deny consent, and they are
            entitled to rely on the public promises of the companies they
            deal with. Furthermore, Google’s alleged conduct was broad,
            touching untold millions of internet users; it was
            surreptitious, surfacing only because of the independent




            130
                It is no matter whether or not a given plaintiff had actual,
            subjective knowledge of her browser settings and the impact
            of those settings on the defendants’ tracking practices. Like a
            principal’s agent, a personal computing device acts as an
            extension of oneself for purposes of engaging with the
            internet. The decision to use one or another technology is the
            decision to choose its features, even if the lay user may not
            actually know what all those features are in their specifics.
            131
                  Hernandez, 211 P.3d at 1074.
            132
                  Id. at 1073 (internal quotation marks omitted).




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            research of Mayer and the Wall Street Journal; and it was of
            indefinite duration, with Google’s counsel conceding at
            argument that their tracking cookies have no natural lifespan.
            Particularly as concerns Google’s public statements regarding
            the Safari cookie blocker, we see no justification. Neither,
            apparently, do the elected branches, as California and federal
            executive agencies have themselves sought to penalize
            Google for the events alleged in the complaint.133 Based on
            the pled facts, a reasonable factfinder could indeed deem
            Google’s conduct “highly offensive” or “an egregious breach
            of social norms.”134
                   A reasonable jury could conclude that Google’s
            alleged practices constitute the serious invasion of privacy
            contemplated by California law. We will vacate the dismissal
            of the plaintiffs’ claims under the California Constitution and
            California tort law.

                     B.     California Invasion of Privacy Act

                   We next consider the plaintiffs’ claim against Google
            for violation of the California Invasion of Privacy Act, Cal.
            Penal Code § 631(a). Like the federal Wiretap Act, § 631(a)
            “broadly prohibits the interception of wire communications
            and disclosure of the contents of such intercepted
            communications.”135 The California Supreme Court has




            133
                  Compl. ¶¶ 166-68; infra n. 12.
            134
                  Id. (internal quotation marks omitted).
            135
              Tavernetti v. Superior Court, 583 P.2d 737, 739 (Cal.
            1978).




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            explained that “Section 631 was aimed at one aspect of the
            privacy problem—eavesdropping, or the secret monitoring of
            conversations by third parties.”136

                   The District Court dismissed the § 631(a) claim for the
            same reasons that it dismissed the plaintiffs’ federal
            wiretapping claim. As discussed above, the pleadings
            demonstrate that Google was itself a party to all the electronic
            transmissions that are the bases of the plaintiffs’ wiretapping
            claims.137 Because § 631 is aimed only at “eavesdropping, or
            the secret monitoring of conversations by third parties,”138 we
            will affirm the dismissal of the California Invasion of Privacy
            Act claim for the same reasons we affirm the dismissal of the
            federal Wiretap Act claim.




            136
                Ribas v. Clark, 696 P.2d 637, 640 (Cal. 1985); see also
            Powell v. Union Pac. R. Co., 864 F. Supp. 2d 949, 955 (E.D.
            Cal. 2012) (“Section 631 broadly proscribes third party
            access to ongoing communications.”); Thomasson v. GC
            Servs. Ltd. P’ship, 321 Fed. App’x 557, 559 (9th Cir. 2008)
            (“California courts interpret ‘eavesdrop,’ as used in § 632, to
            refer to a third party secretly listening to a conversation
            between two other parties.”).
            137
                Judge Fisher believes that under Ribas, 696 P.2d 637,
            Google may be liable under Section 631(a) for recording the
            communications and sharing them with third parties. Judge
            Fisher does not write separately as it does not appear that
            California law is developed sufficiently on this question to
            reverse the judgment of the District Court.
            138
                  Ribas, 696 P.2d at 640.




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                     C.     Remaining State Law Claims

                  We will affirm the District Court’s dismissals of the
            remaining state law claims against Google.

                   The District Court dismissed the plaintiffs’ claim
            under the California Unfair Competition Law, Cal. Bus. &
            Prof. Code § 17200, on the basis that, under the statute,
            “private standing is limited to any ‘person who . . . has lost
            money or property’ as a result of unfair competition.”139
            Likewise, the District Court dismissed the plaintiffs’ claim
            under the California Comprehensive Computer Data Access
            and Fraud Act, Cal. Penal Code § 502, on the basis of § 502’s
            requirement that a suit may only be brought by one who has
            “suffer[ed] damage or loss by reason of a violation.”140 As
            discussed above in connection with the Computer Fraud and
            Abuse Act, the complaint fails to show damage or actual loss.
            Accordingly, the dismissal of these claims was proper.

                  The California Consumers Legal Remedies Act, Cal.
            Civ. Code § 1770, proscribes various “unfair methods of
            competition and unfair or deceptive acts or practices
            undertaken by any person in a transaction intended to result
            or which results in the sale or lease of goods or services to
            any consumer.”141 On appeal, the plaintiffs argue that they


            139
               Kwikset Corp. v. Superior Court, 246 P.3d 877, 884 (Cal.
            2011) (quoting § 17204).
            140
                  Cal. Penal Code § 502(e).
            141
                  Cal. Civ. Code § 1770(a).




                                              58
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            plead a forced “sale” whereby they gave their trackable
            internet history information in exchange for advertisements
            delivered to their browsers (i.e., the “services”). The plaintiffs
            present no caselaw in support of their expansive construction
            of “sale.” And California federal courts have expressly
            rejected defining “sale” as to include “transactions” based on
            non-tangible forms of payment, including internet usage
            information specifically.142 Likewise, Black’s Law Dictionary
            defines a sale as a “transfer or property or title for a price,”
            requiring specifically “a price in money paid or promised.”143
            We follow the view of the California federal courts, and see
            no “sale . . . of services” in the allegations of the complaint.
            The dismissal of this claim was thus proper, too.

            V.       Conclusion

                    In light of the foregoing, we will dispose of the
            plaintiffs’ claims in the following manner.

                   We will affirm the dismissal of the three federal law
            claims brought against all defendants. Because the defendants
            were parties to all electronic transmissions at issue in this



            142
                See Claridge v. RockYou, Inc., 785 F. Supp. 2d 855, 864
            (N.D. Cal. 2011) (rejecting plaintiff’s contention that “his
            transfer of . . . information to defendant in exchange for free
            applications[] constitutes a ‘purchase’ or ‘lease’” as finding
            “no support under the specific statutory language of the
            [Act]”); Yunker v. Pandora Media, Inc., 2013 WL 1282980,
            at *12 (N.D. Cal. 2013) (same).
            143
                  Black’s Law Dictionary (10th ed. 2014) (“Sale”).




                                            59
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            case, and plaintiffs state no Wiretap Act violation per 18
            U.S.C. § 2511(2)(d). The alleged intrusion upon the
            plaintiffs’ personal computing devices does not implicate a
            “facility” protected by the Stored Communications Act. And
            the plaintiffs plead no cognizable losses as required by the
            Computer Fraud and Abuse Act.

                    We will vacate the District Court’s dismissal of the
            plaintiffs’ freestanding privacy claims against Google under
            the California Constitution and California tort law. A
            reasonable factfinder could conclude that the means by which
            defendants allegedly accomplished their tracking, i.e., by way
            of a deceitful override of the plaintiffs’ cookie blockers,
            marks the serious invasion of privacy contemplated by
            California law. But we will affirm the dismissal of the
            remainder of the plaintiffs’ state law claims. The plaintiffs fail
            to plead a violation of the California Invasion of Privacy Act
            for the same reason that they fail to plead a violation of the
            federal Wiretap Act. Likewise, because they do not show
            loss, the plaintiffs fail to show violations of the California
            Unfair Competition Law or the California Comprehensive
            Computer Data Access and Fraud Act. Finally, the plaintiffs
            do not plead a “sale” as required by the California Consumers
            Legal Remedies Act.




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